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Page ID #:29
AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)
Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
2:19-MJ-02887 67(194(2014 OG05 At noyse , Kitchen count’

 

 

 

inventory made in the presence of :

At cesidevee : 2331 8. 2v4 the. Acadia, CA F100l,

 

Inventory of the property taken and name of any person(s) seized:

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

(21) proves
(6) sim cacds
(4) Sim Card (aSes

 

Certification (by officer present during the execution of the warrant)

 

I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's Office.

Date: ¢ [14 [zo 4 ep ZA
a a Hecvivg of officer's signature

Daay W0__SpEectAl AGENT —

Printed name and title

 

 

 

 

AUSA: R. Hsieh, x0600
